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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

 DAVID K. HOLLAND and                           §
 VALERIA HOLLAND,                               §
                                                §
           Plaintiffs,                          §
 v.                                             §    CIVIL ACTION NO. 4:22-cv-02376
                                                §
 FEDERAL NATIONAL MORTGAGE                      §
 ASSOCIATION, LOANCARE, LLC,                    §
 AND NEWREZ LLC.,                               §
                                                §
           Defendants.                          §


                         STIPULATION FOR DISMISSAL WITH PREJUDICE

          Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiffs David K. Holland and Valeria Holland

(hereinafter “Plaintiffs”) voluntarily dismiss the above-entitled action against Defendants Federal

National Mortgage Association, LoanCare, LLC, and Newrez, LLC (hereinafter “Defendants”),

with prejudice. The parties agree to bear their own attorney’s fees and costs associated with this

Action.

Dated: February 15, 2023                                Respectfully submitted,


                                                        /s/ Joshua D. Gordon
                                                        Joshua D. Gordon
                                                        Robert "Chip" C. Lane
                                                        S. Alex Lick
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                                                        Counsel for Plaintiffs
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                                                    HOLLAND & KNIGHT LLP

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                                                    Counsel for Defendants



                             CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing documents was served by the
Court’s CM/ECF system to all counsel of record on this 15th day of February, 2023.

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       ATTORNEYS FOR PLAINTIFFS


                                                    /s/David D. Hornbeak
                                                    David D. Hornbeak




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